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                           IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


JOHN DOE,
                                                      CIVIL ACTION NO. 2:18-cv-03461-PBT


               Plaintiff


               v.                                     JURY TRIAL DEMANDED


THE TRUSTEES OF ST. MARY’S                            Joint Stipulation of
COLLEGE OF MARYLAND,                                  Dismissal without Prejudice


               Defendant



       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiff JOHN

DOE and Defendants THE TRUSTEES OF ST. MARY’S COLLEGE OF MARYLAND, by and

through their attorneys, respectfully and jointly submit this Stipulation of Dismissal of this action

without prejudice, each party to bear its/her own costs and fees. The parties request that the Clerk

of Court now close this case.
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